 

ILND 450 (Rev. 1042S Fiera BLM PRB4S Document #: 7 Filed: 06/25/18 Page 1 of 1 PagelD #:112 MW

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IN THE UNITED STATES DISTRICT COURT
FOR THE
NORTHERN DISTRICT OF ILLINOIS

BEVERLY-ANNJONES-YOUNG,
Plaintiff(s),
Case No. 18 C 3945
Vv. Judge CHARLES R. NORGLE
WELLS FARGO BANK, N.A., et al. ,

Defendant(s).

 

JUDGMENT IN A CIVIL CASE
Judgment is hereby entered (check appropriate box):
L] in favor of plaintiff(s)
and against defendant(s)

in the amount of $ ,

which [_] includes pre—judgment interest.
[_] does not include prejudgment interest.

Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

Plaintiff(s) shall recover costs from defendant(s).

 

[] in favor of defendant(s)
and against plaintiff(s)

Defendant(s) shall recover costs from plaintiff(s).

 

[<] _ other: the case is dismissed.

 

This action was (check one):
[_] tried by ajury with Judge _ presiding, and the jury has rendered a verdict.

[_] tried by Judge —_ without a jury and the above decision was reached.
[Xx] decided by Judge Charles Norgle upon initial review of the complaint

Date: 6/25/2018

 

 
